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                            UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                              Plaintiff,               )    4:08CR3095
                                                       )
                      vs.                              )    FINAL ORDER OF
                                                       )    FORFEITURE
                                                       )
JESUS MENDIVIL,                                        )
FABIOLA BERNAL,                                        )
                                                       )
                              Defendants.              )


       NOW ON THIS 11th day of March, 2009, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

       1. On December 15, 2008, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 21, United States Code, Sections 846, 853, Title 18, United States Code,

Sections 922(g)(5), 924(d) and Title 28, United States Code, Section 2461(c), based upon the

Defendants’ pleas of guilty to Counts I, IV, VI and VII of the Superceding Indictment filed herein.

By way of said Preliminary Order of Forfeiture, the Defendants’ interest in $12,723.00 in United

States Currency and a Colt .38 Special revolver were forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official Government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on December 22, 2008, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Claims. A Declaration of Publication was filed herein on February 27, 2009 (Filing No.

77).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $12,723.00 in United States Currency and a Colt

.38 Special revolver, held by any person or entity, is hereby forever barred and foreclosed.

       C. The $12,723.00 in United States Currency and a Colt .38 Special revolver, be, and the

same hereby are, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 11th day of March, 2009.

                                                      BY THE COURT:

                                                      s/ RICHARD G. KOPF, JUDGE
                                                      United States District Court
